                                  Case 1:12-cv-00063-DN Document 1 Filed 03/20/12 PageID.1 Page 1 of 1
    JS 44 (Rev 09111)                                                                                CIVIL COVER SHEET
    The JS 44 civil cover sheet and tile intormation contained herein neither replace nor supplement the filing and service ofplea dings or other papers as required by law, except as provided
    by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqUired for the ~Ise of the Clerk of Court for the purpose ofillitiating
    the civil docket sheet. (SliE INS7'JI(/C110NS ON NRXT PAGI, 0/,' THIS I'()fIM.)

    I. (0) PLAINTIFFS                                                                                                                  DEFENDANTS
    GIL A. MILLER, as Receiver for IMPACT PAYMENT SYSTEMS, LLC, et                                                                JR COOK
    al.

          (b) County of Residence of First Listed Plaintiff                      Davis,County                                          COllnty of Residence of First Listed Defendant
                                       (I'X(.'/:I"lIN r/.s. l'I.AINI1VFCAShS)                                                                                     (IN (/ s. l'IAINrWI' CASliS !lNI.r)
                                                                                                                                       NOTE:                   tN LAND CONDFMNATtON CASES, USE THE LOCAl tON 01'
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          (c) Attorneys (Firm NUIIIC, Addr",,',,', and Trdephone NUII/ber)                                                             Attorneys ((/ Knowll)

    Robert G. Wing Jennifer R. Korb Jared N. Parrish Prince Yeates &
    Ge!dzahler 15 W, So Tamola SIs 1700 SLC UT84101 801-524·1000
    II. BASIS OF JURISDICTION                                   (I'lacee", "X" in     0,," Bn,Only)                  III. CITIZENSHIP OF PRINCIPAL PARTIES (/,/aC"UI) "X" III (I,," 8",/i,,"lai""10
                                                                                                                              (For !Ji,'"rsily (.'OJ",\· Only)                                      ancl (),,~ Bo.y for /Jc./i!IJckll1l)
a I u.s Govem",ent                              Q!I: 3 Federol Question                                                                                       PTF    DEF                                               PTF            DEF
                Plaintiff                                   ({ lS'. (iollcrnmrml Not     (J   Party)                    Citizen of TI,is State                ~ I     Q!I: I   IncorporAted or Principal Place          0 4 0 4
                                                                                                                                                                               of Business In This Stnte

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                DefendAnt                                   (lmh(.'ull1 (.'illzen,,.hlp ld I~ar"e\' In Ilem III)                                                                  of Business In Another SIHle

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                 CONTlUC'T                                                     TORTS                                        FORFf:rn'RUf'fNAITY                           BANKRUPTCY                        OTIiElt STAT r' F.S
    a     110 Insurance                          PERSONAL INJlJRY                      PERSONAL IN./lJRY                n 625 D.ug RelAted Seizure             a    422 AppeAl 28 US(' 158           n   375   F.lse Clallns Act
    a     120 MOline                        o    310 AirplAne                        0 365 Per,onal Injury -                  of Prope.ty 21 USC 881           n    423 WilhdrAwAI                   0   400   StHte Reapportionment
    a     130 Millel Act                    o    315 Ai']'lane Product                     Product Liability            0690 Other                                      28lJSC157                    0   410   Antitrllst
    0     140 Negotinble Instrument                   Liability                      a 367 Health Carel                                                                                              0   430   Banks And Banking
    a     150 ReCDVel)! of Overpayment      a    320 A,s"uh, Libel &                                Phnnnaceuticai                                                  PRDI'ER"Y ~I ;H' S               0   450   COlnme,ce
              & EnrOl cement ofJud~ll\e"l             Slander                              Personal Injury                                                     o    820 Copyrights                   0   460   Dep0l1ntioil
    a     151 Medicn,e Act                  a    330 Fede .. 1 Employers'                  Product Liabilily                                                   o    830 Patent                       0   470   Racketeer Influenced and
    i'J   152 Recove,)! of Defaulted                  Liability                      a 368 Asbestos Personal                                                   o    840 Trademalk                              COn"llpl OrgrmizBliolls
              Studellt Loans                a    340 Ma,ine                                 Injury PlOduct                                                                                           0 480 COllsurner Credil
              (Excl. Veterans)              o    345 Marine PlOducl                         LiAbility                                  .AIIOIl                      S' CIA .. SEC IR 'Y              n   490 Cabie/SAI TV
    D     153 Recove,)! ofOverpayrnent                Liability                       PERSONAL PROPERTY                 a   710 foil' Labor Standard.          o    861 HIA (139511)                 \!II 850 Secu,ities/Commodltiesl
              of Veteran'. Benefits         o    350 Motor Vehicle                   a 370 Othel Fraud                          Act                            o    862 Black Lung (923)                       Exchange
0         160 Stockholdels' Suits           a    355 Malar Vehicle                   a 371 Truth in Lending             a   720 LAbo,1Mgmt Relations           o    863 D1WC/DIWW (405(8))           CJ 8900thel SlatulO')! Actions
:J        190 Other ('ont,act                        Product Liability               a 380 Other Pelsonal               o   740 Railway Labo, ACI              a    864 ssm Title XVI                0 891 Agricultu,al Acts
0         195 ContrAcl PlOd"c, Linbility    a    360 Otho, PelSonal                        Property Damage              o   751 Family and Medical             o    865 RSI (405(g))                 0 893 EnvironmentAl Mnllers
    a     196 Flonchise                              Injll')!                        0 385 Ptoperty DmnAge                       Leave Acl                                                           0 895 fl'eedolH ofinlimnntion
                                            o    362 Personal InjUly ,                     Produci Liability            a   790 Other Labor Litigation                                                      Act
                                                     Med Mal )factice                                                   o   791 EmpJ. Ret Inc                                                        0 896 ArbitlUtioll
!         RE" L I!ROI'.!IRT\'                       elVU, RIGHTS                      PRISONBR PETITIONS                        Security ACI                        FEORRAI. TAX S I, 'S             0 899 AdmiuislUllive PJOccdllle
    D 210 Land Condemnation                 a 440       Other Civil Rights           D 510 Motions to Vacate                                                   o    870 Taxes (U S Plaintiff               ActlRe"iew 01' Appenl of
a 220        Foreclosure                    0441        Voting                                      Sentence                                                            or Defend.nt)                      Agency Dccisioll
o 230        Rent Lease & Ejectment         o 442       Employment                            H.be•• Corpu.:                                                   o    871 IRS--- Third Party           0 950 Constitutionality of
a 240        Torts to Land                  a 443       Housingl                     a        530   General                                                             26 US(' 7609                       StAte Statute,
D 245        Tort P,oduct Liability                     ACCOl11l1lodntioils          a        535   Death Penalty                 IMMlGRA" toN
a 290        All Other Real Property        o 445 Amel' w/Di••bilities-              a        540   MandAmus & Other   10 462 Naturalization Appl.catlon
                                                  Employment                         a        550   Civil Right.        CJ 463 Habe.s Corpus,
                                            o 446 Ame, w/Disabilities-               a        555   Prison Condition            Alien Detainee
                                                    Olhel                            a        560   Civil Detainee ­            (Prisone, Petition)
                                            a   448 Educntion                                       Conditions of       n   465 Other lmmigll,tion
                                                                                                    Confinemenl                 Actions

V. ORIGIN                         (l'l"c" "n "X"
                                              III On" /JIIS ()lIly)                                .                           Transferred from
QI: I        Original         o    2 Removed from                CJ 3 Remanded from      0 4 Remstated or 0 5 another district                                 CJ 6 MultidistricI
             Proceedillg             State Court                      Appcilate COllrt           Rcopened""""1 ,                                                        Litigation
                                             Cite the U S Civil Statllte under which you are filing (no 1/11/ cilejllri,wliclimll,1 ,·MII/e... III,/e,,,," (/i""',l'iM:
VI. CAlJSE OF ACTION                                ~28~U;,,;,S-,",.C;....:--75,-::4,--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    Brief description of calise:
                                                     This is a fraudulent transfer action brou ht b a Receiver
VII. REQUESTED IN     o                                 CHECK IF THIS IS A CLASS ACfrON         DEMANDS                                                                    CHECI< YES only if demanded in complaint
     COMPLAlNT:                                         UNDER F R C P 23                                                                                                   JURY DEMAND:          0 Yes     IX No
Vlll. RELATED CASE(S)
      IF ANY                                                                        JUDGE                 Kimball                                                   DOCKET NUMBER                1:11-cv-00046
DATE                                                                                          SIONATURf' OF ATI'ORN£Y OF RECORD

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",(II( OFFICE tlSt~ ni'lL \t

        RECEIPT #                      AMOUNT                                                  AI'!'L YING IF!'                                    Case: 1:12cv00063
                                                                                                                                                   ~ss~gned To : Kimball, Dale A.
                                                                                                                                                   ~ss~gn.          Date : 3/20/2012
                                                                                                                                                  Descrjption: Hiller v. Cook
